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                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF NEW YORK


In re Shlome & Rachel Braun                                                          Case No. 08-22511
      Debtor                                                                Reporting Period: 6/1/08-6/30/08

                                                                              Social Security #                7132
                                                                                   (last 4 digits only)


                                                  MONTHLY OPERATING REPORT
                                                  (INDIVIDUAL WAGE EARNERS)

     File with the Court and submit a copy to the United States Trustee within 20 days after the end of the
     month and submit a copy of the report to any official committee appointed in the case.
     (Reports for Rochester and Buffalo Divisions of Western District of New York are due 15 days after the
     end of the month, as are the reports for Southern District of New York.)


     REQUIRED DOCUMENTS                                                     Form No.                      Document    Explanation
                                                                                                          Attached     Attached
     Schedule of Cash Receipts and Disbursements                            MOR-1 (INDV)
        Bank Reconciliation (or copies of debtor's bank                     MOR-1 (CONT)
     reconciliations)
        Copies of bank statements
     Disbursement Journal                                                   MOR-2 (INDV)
     Balance Sheet                                                          MOR-3 (INDV)
        Copies of tax returns filed during reporting period
     Summary of Unpaid Post-petition Debts                                  MOR-4 (INDV)
     Status of Secured Notes, Leases, Installment Payments                  MOR-5 (INDV)
     Debtor Questionnaire                                                   MOR-6 (INDV)


     I declare under penalty of perjury ( 28 U.S.C. Section 1746) that the documents attached to this report are true and
    correct to the best of my knowledge and belief.


     Signature of Debtor /s/ Schlome Braun                                                                     Date         7/14/2008

     Signature of Joint Debtor /s/ Rachel Braun                                                                Date         7/14/2008




                                                                                                                             FORM MOR (INDV)
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In re Shlome & Rachel Braun                                                                   Case No. 08-22511
      Debtor                                                                         Reporting Period: 6/1/08-6/30/08

                     INDIVIDUAL DEBTOR CASH RECEIPTS AND CASH DISBURSEMENTS
                                  (This Form must be submitted for each bank account maintained by the Debtor)

    Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending
    cash from the prior month or, if this is the first report, the amount should be the balance on the date the petition was
    filed. Attach the bank statements and a detailed list of all disbursements made during the report period that includes
    the date, the check number, the payee, the transaction description, and the amount. A bank reconciliation must
    be attached for each account. [See MOR-1 (CON'T)]

                                                                                          Current Month              Cumulative Filing to Date
                                                                                              Actual                           Actual

     Cash - Beginning of Month
     RECEIPTS
      Wages (Net)
      Interest and Dividend Income
      Alimony and Child Support
      Social Security and Pension Income
      Sale of Assets
      Other Income (attach schedule)
       Total Receipts
     DISBURSEMENTS
      ORDINARY ITEMS:
       Mortgage Payment(s)
       Rental Payment(s)
       Other Secured Note Payments
       Utilities
       Insurance
       Auto Expense
       Lease Payments
       IRA Contributions
       Repairs and Maintenance
       Medical Expenses                                                                                 115
       Food, Clothing, Hygiene                                                                      2499.24
       Charitable Contributions
       Alimony and Child Support Payments
       Taxes - Real Estate
       Taxes - Personal Property
       Taxes - Other (attach schedule)
       Travel and Entertainment
       Gifts
       Other (attach schedule)                                                                          457
        Total Ordinary Disbursements                                                                3071.24
      REORGANIZATION ITEMS:
       Professional Fees
       U. S. Trustee Fees
       Other Reorganization Expenses (attach schedule)
        Total Reorganization Items

     Total Disbursements (Ordinary + Reorganization)

     Net Cash Flow (Total Receipts - Total Disbursements)

      Cash - End of Month (Must equal reconciled bank                                              -3071.24
     statement)


                                                                                                                                                 FORM MOR-1 (INDV)
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In re Shlome & Rachel Braun                                          Case No. 08-22511
      Debtor                                                Reporting Period: 6/1/08-6/30/08


             INDIVIDUAL DEBTOR CASH RECEIPTS AND CASH DISBURSEMENTS
                                 (continuation sheet)

     BREAKDOWN OF "OTHER" CATEGORY                          Current Month         Cumulative Filing to
                                                            Actual                Date Actual
     Other Income




     Other Taxes




     Other Ordinary Disbursements
     Bank Charges                                                           337
     Education                                                              120




     Other Reorganization Expenses




                               THE FOLLOWING SECTION MUST BE COMPLETED
    DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)


     TOTAL DISBURSEMENTS
        LESS: TRANSFERS TO OTHER DEBTOR IN POSSESSION ACCOUNTS
        PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e.
     from escrow accounts)
     TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE
     QUARTERLY FEES




                                                                                                         FORM MOR-1 (INDV)
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In re Shlome & Rachel Braun                                                       Case No. 08-22511
      Debtor                                                             Reporting Period: 6/1/08-6/30/08

                                                      BANK RECONCILIATIONS
    Continuation Sheet for MOR-1
    A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
    (Bank account numbers may be redacted to last four numbers.)


                                              Operating                       Payroll                    Tax                      Operating
                                      #2059                          #                            #                       #2893
    BALANCE PER                                                  0                                                                               213.46
    BOOKS

    BANK BALANCE                                                 0                                                                              -598.87
    (+) DEPOSITS IN                                                                                                                             1294.15
    TRANSIT (ATTACH
    LIST)
    (-) OUTSTANDING                                                                                                                              481.82
    CHECKS (ATTACH
    LIST) :
    OTHER (ATTACH
    EXPLANATION)

    ADJUSTED BANK                                                                                                                                213.46
    BALANCE *
    *"Adjusted Bank Balance" must equal "Balance per Books"


    DEPOSITS IN TRANSIT                           Date                        Amount                     Date                          Amount
                                                            30-Jun                      1294.15




    CHECKS OUTSTANDING                           Ck. #                        Amount                     Ck. #                         Amount
                                      113                                                  -260
                                      115                                                  -140
                                      109                                                -57.15
                                      106                                                -24.67




    OTHER




                                                                                                                                                          FORM MOR-1 (CONT)
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In re Shlome & Rachel Braun                                 Case No. 08-22511
      Debtor                                       Reporting Period: 6/1/08-6/30/08

                                 DISBURSEMENT JOURNAL

                                  CASH DISBURSEMENTS
       Date                   Payee              Purpose                   Amount




                       Total Cash Disbursements


                                 BANK ACCOUNT DISBURSEMENTS
        Date                   Payee             Purpose                   Amount         Check #
     1/30/2008   NS Supermarket             Food                                 -31.91   168
      5/8/2008   Best Dress Shop            Clothing                           -227.24    323
     5/29/2008   All Fresh                  Food                                 -22.74   98
      6/2/2008   M&M Shoes                  Clothing                                -37   EFT
      6/2/2008   M&T Bank                   Bank Charges                            -37   EFT
      6/3/2008   Dr. Marion                 Medical                                -115   101
      6/3/2008   M&T Bank                   Bank Charges                            -37   EFT
      6/3/2008   M&T Bank                   Bank Charges                            -37   EFT
      6/4/2008   All Fresh                  Food                                   -322   103
      6/4/2008   Lingerie Shop              Clothing                           -217.42    105
      6/4/2008   Oneg Meats                 Food                                 -74.17   104
      6/4/2008   Din                        Clothing                                -50   102
      6/5/2008   M&T Bank                   Bank Charges                            -37   EFT
      6/5/2008   M&T Bank                   Bank Charges                            -10   EFT
     6/10/2008   NS Supermarket             Food                               -326.42    107
     6/10/2008   M&T Bank                   Bank Charges                            -37   EFT
     6/12/2008   M&T Bank                   Bank Charges                            -18   EFT
     6/12/2008   M&T Bank                   Bank Charges                            -18   EFT
     6/12/2008   M&M Shoes                  Clothing                                -10   EFT
     6/17/2008   B Jeweled                  Jewelery                               -269   112
     6/17/2008   Shoe Barn                  Clothing                           -141.02    111
     6/17/2008   M&T Bank                   Bank Charges                            -32   EFT
     6/18/2008   M&T Bank                   Bank Charges                            -10   EFT
     6/19/2008   All Fresh                  Food                               -438.66    114
     6/19/2008   Oneg Meats                 Food                               -245.59    110
     6/19/2008   All Fresh                  Food                                 -52.07   116

                                                                                               FORM MOR-2 (INDV)
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In re Shlome & Rachel Braun                        Case No. 08-22511
      Debtor                             Reporting Period: 6/1/08-6/30/08
      6/23/2008 C.O.L.                   Education                        -120   117
      6/26/2008 M&T Bank                 Bank Charges                      -32   EFT
      6/27/2008 M&T Bank                 Bank Charges                      -32   EFT
      6/29/2008 NS Supermarket           Food                              -34   118
                  BANK ACCOUNT DISBURSEMENTS                           3071.24


                  Total Disbursements for the Month                    3071.24




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In re Shlome & Rachel Braun                                                                   Case No. 08-22511
      Debtor                                                                         Reporting Period: 6/1/08-6/30/08

                                                             BALANCE SHEET
    The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from
    post-petition obligations.

                                     ASSETS                                     BOOK VALUE AT END OF                BOOK VALUE ON
                                                                                 CURRENT REPORTING                 PETITION DATE OR
                                                                                       MONTH                      SCHEDULED AMOUNT
     SCHEDULE A REAL PROPERTY
     Primary Residence                                                                                 750000




     Other Property (attach schedule)
     TOTAL REAL PROPERTY ASSETS

     SCHEDULE B PERSONAL PROPERTY
     Cash on Hand
     Bank Accounts
     Security Deposits
     Household Goods & Furnishings
     Books, Pictures, Art
     Wearing Apparel
     Furs and Jewelry
     Firearms & Sports Equipment
     Insurance Policies
     Annuities
     Education IRAs
     Retirement & Profit Sharing
     Stocks
     Partnerships & Joint Ventures
     Government & Corporate Bonds
     Accounts Receivable
     Alimony, maintenance, support or property settlements
     Other Liquidated Debts
     Equitable Interests in Schedule A property
     Contingent Interests
     Other Claims
     Patents & Copyrights
     Licenses & Franchises
     Customer Lists
     Autos, Trucks & Other Vehicles
     Boats & Motors
     Aircraft
     Office Equipment
     Machinery, supplies, equipment used for business
     Inventory
     Animals
     Crops
     Farming Equipment
     Farm Supplies
     Other Personal Property (attach schedule)
     TOTAL PERSONAL PROPERTY
     TOTAL ASSETS

                                                                                                                                         FORM MOR-3 (INDV)
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In re Shlome & Rachel Braun                                           Case No. 08-22511
      Debtor                                                 Reporting Period: 6/1/08-6/30/08


                LIABILITIES AND OWNER EQUITY              BOOK VALUE AT END OF     BOOK VALUE ON
                                                           CURRENT REPORTING      PETITION DATE OR
                                                                 MONTH           SCHEDULED AMOUNT
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Federal Income Taxes (not deducted from wages)
     FICA/Medicare (not deducted from wages)
     State Taxes (not deducted from wages)
     Real Estate Taxes
     Other Taxes (attach schedule)
     TOTAL TAXES
     Professional Fees
     Other Post-petition Liabilities (list creditors)




    TOTAL POST-PETITION LIABILITIES

     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES

     TOTAL LIABILITIES


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In re Shlome & Rachel Braun                                                                           Case No. 08-22511
      Debtor                                                                                 Reporting Period: 6/1/08-6/30/08


                                       SUMMARY OF UNPAID POST-PETITION DEBTS


                                                                                        Number of Days Past Due
                                                         Current           0-30         31-60           61-90        Over 91       Total
     Mortgage                                                   6714            13428        20142           26856        46998        46998
     Rent
     Secured Debt/Adequate Protection
     Payments
     Professional Fees
     Other Post-Petition debt (list creditor)




     Total Post-petition Debts

    Explain how and when the Debtor intends to pay any past due post-petition debts.




                                                                                                                                                  FORM MOR-4 (INDV)
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In re Shlome & Rachel Braun                                  Case No. 08-22511
      Debtor                                        Reporting Period: 6/1/08-6/30/08


           POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                    AND ADEQUATE PROTECTION PAYMENTS

                                         SCHEDULED
                                          MONTHLY        AMOUNT PAID     TOTAL UNPAID POST-
             NAME OF CREDITOR           PAYMENT DUE     DURING MONTH         PETITION




                                       TOTAL PAYMENTS




                                 INSTALLMENT PAYMENTS


                                                                         PAYMENT AMOUNT &
               TYPE OF POLICY             CARRIER       PERIOD COVERED      FREQUENCY




                                                                                              FORM MOR-5 (INDV)
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In re Shlome & Rachel Braun                                                        Case No. 08-22511
      Debtor                                                              Reporting Period: 6/1/08-6/30/08



                               DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the          Yes         No
       questions is “Yes”, provide a detailed explanation of each
       item. Attach additional sheets if necessary.
                                                                                yes
   1 Have any funds been disbursed from any account other than a
     debtor in possession account this reporting period?
     Is the Debtor delinquent in the timely filing of any post-petition                    no
   2 tax returns?
                                                                                           no
     Are property insurance, automobile insurance, or other necessary
   3 insurance coverages expired or cancelled, or has the debtor
     received notice of expiration or cancellation of such policies?
     Is the Debtor delinquent in paying any insurance premium                              no
   4 payment?
     Have any payments been made on pre-petition liabilities this                     no
   5 reporting period?
                                                                                           no
   6
       Are any post petition State or Federal income taxes past due?
                                                                                           no
   7 Are any post petition real estate taxes past due?
   8 Are any other post petition taxes past due?                                      no
     Have any pre-petition taxes been paid during this reporting                           no
   9 period?
                                                                                           no
  10
       Are any amounts owed to post petition creditors delinquent?
                                                                                yes
  11 Have any post petition loans been been received by the Debtor
     from any party?
                                                                                           no
  12
     Is the Debtor delinquent in paying any U.S. Trustee fees?
     Is the Debtor delinquent with any court ordered payments to                           no
  13 attorneys or other professionals?




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